Case 3:17-cv-00072-NKM-JCH Document 1185 Filed 10/09/21 Page 1 of 8 Pageid#: 20038




                                 UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Charlottesville Division


       ELIZABETH SINES, SETH WISPELWEY,
       MARISSA   BLAIR,   APRIL  MUNIZ,
       MARCUS MARTIN, NATALIE ROMERO,
       CHELSEA ALVARADO, JOHN DOE, and
       THOMAS BAKER,

                                         Plaintiffs,                 Civil Action No. 3:17-cv-00072-NKM

       v.

       JASON KESSLER, et al.,

                                         Defendants.


                   PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF
               THEIR RESPONSE REGARDING CHRISTOPHER CANTWELL’S
              ECF FILINGS 1062, 1063, 1064, 1065, 1066, 1077, 1078, 1084, 1085, 1086,
                    1087, 1088, 1089, 1090, 1096, 1097, 1098, 1099, 1102, 1103

            Plaintiffs have previously articulated their suspicion that Defendant Christopher Cantwell

   has been using another inmate, William A. White, to “ghost write” a profusion of Mr. Cantwell’s

   recent filings. See ECF No. 1108 at 5-7; ECF No. 1134 at 1-3. It is now clear that our suspicions

   were completely accurate. Indeed, such unauthorized practice of law with respect to Mr. Cantwell

   has continued, with Mr. Cantwell flooding the docket with even more ghost-written submissions.

   See, e.g., ECF Nos. 1157, 1158, 1159, 1160, 1161, 1162. 1

            Mr. Cantwell’s improper use of ghostwriters is no longer subject to legitimate dispute. In



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     To date, Cantwell has submitted no fewer than 38 ghost-written filings (excluding exhibits and affidavits). See ECF
   Nos. 1062, 1063, 1064, 1065, 1066, 1077, 1078, 1084, 1085, 1086, 1087, 1088, 1089, 1090, 1096, 1097, 1098, 1099,
   1102, 1103, 1109, 1110, 1119, 1120, 1121, 1122, 1123, 1124, 1125, 1126, 1132, 1133, 1157, 1158, 1159, 1160, 1161,
   1162. The Court has even acknowledged that Cantwell is “working with Mr. White” in making a multitude of filings
   in its recent Order denying as moot two of Cantwell’s motions. ECF No. 1181 at 1.
Case 3:17-cv-00072-NKM-JCH Document 1185 Filed 10/09/21 Page 2 of 8 Pageid#: 20039




   fact, Mr. Cantwell has all but admitted he has been using ghostwriters in connection with his recent

   filings to this Court. On a recent podcast called “SoToSpeak: Clearly Not Transcompetent” and

   recorded on October 7, 2021, Mr. Cantwell openly admitted to relying on not one, but two

   individuals to assist with his recent filings. See Jared Howe and Christopher Cantwell, SoToSpeak

   Podcast, Ep. 771, Clearly Not Transcompetent, at 32:20-37:01 (Oct. 7, 2021) (hereinafter

   “Cantwell Podcast”), available at https://www.iheart.com/podcast/256-so-to-speak-w-jared-

   howe-30946957/episode/s-o-t-o-s-p-87761849/. While it turns out our theory about Mr. White

   was correct, we now know that Mr. Cantwell has also been relying on Matthew Hale, a white

   supremacist and former attorney who was convicted of soliciting the murder of a federal judge in

   Chicago. See United States v. Hale, No. 03 CR 11-JM (N.D. Ill. 2004); Matt O’Connor, Hale gets

   40     years     for     plot     to    kill    judge,       CHICAGO      TRIBUNE        (Apr.      7,    2005),

   https://www.chicagotribune.com/news/ct-xpm-2005-04-07-0504070253-story.html.                             William

   White, Cantwell’s other legal ghostwriter, is connected to Mr. Hale since he was convicted of

   soliciting violence against a juror in Mr. Hale’s murder trial. 2 See United States v. White, 698 F.3d

   1005, 1008 (7th Cir. 2012).

           More specifically, during this recent podcast, Cantwell volunteers to the podcast host

   (Jared Howe) that he met two “really smart guys in the communications management unit, … Matt

   Hale [and] Bill White,” who are “good to me.” Cantwell Podcast at 32:36-35:03. Mr. Cantwell

   explains that Mr. Hale “made an attorney of himself before he got arrested” and that Mr. White

   “has been helpful to me filing motions with the court …. Could I do this without him? No….” Id.

           As Plaintiffs previously have noted, the practice of ghostwriting in connection with pro se




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     White has also sent threatening messages to judges, U.S. Attorneys, and prosecutors. United States v. White, No.
   7:08-cr-00054, 2021 U.S. Dist. LEXIS 66100, at *2 (W.D. Va. Apr. 5, 2021).


                                                            2
Case 3:17-cv-00072-NKM-JCH Document 1185 Filed 10/09/21 Page 3 of 8 Pageid#: 20040




   litigants raises serious procedural, ethical and practical concerns, and for those reasons, courts

   have had had little reservation prohibiting such “unauthorized practice of law.” See Greene v. U.S.

   Dep’t of Educ., No. 4:13cv79, 2013 U.S. Dist. LEXIS 143678, at *26-27 (E.D. Va. Oct. 1, 2013);

   Sejas v. MortgageIT, Inc., No. 1:11CV469 JCC, 2011 WL 2471205, at *1 (E.D. Va. June 20,

   2011). To allow otherwise would “exploit” the leniency and privileges afforded to pro se litigants,

   who are held to less stringent standards as are parties represented by counsel. Laremont-Lopez,

   968 F. Supp. 1075, 1078 (E.D. Va. 1997).

          In the podcast, Mr. Cantwell asserts — erroneously, of course — that “there’s no rule

   against ghostwriting in a legal process” and that “it’s [been] a collaborative process” with Messrs.

   Hale and White. Cantwell Podcast at 34:35-35:03. Even assuming that Mr. Cantwell did in fact

   engage in a “collaborative process” to draft and research his recent filings in this case, that is of

   no moment. Unauthorized assistance with legal research and writing for a pro se litigant clearly

   qualifies as impermissible ghostwriting. See Laremont-Lopez, 968 F. Supp. at 1077 (noting that it

   is improper ghostwriting “to draft or assist in drafting complaints or other documents submitted to

   the Court on behalf of litigants designated as pro se” (emphasis added)); Sejas, 2011 WL 2471205,

   at *1 (noting attorney would be “behaving unethically” if she were providing “assistance” to pro

   se litigant (emphasis added)); Davis v. Back, No. CIVA 3:09CV557, 2010 WL 1779982, at *13

   (E.D. Va. Apr. 29, 2010) (even the act of rendering unauthorized “legal advice” qualifies as

   ghostwriting).

          In light of this new evidence, Plaintiffs reiterate their prior request that (1) any and all

   filings on behalf of Cantwell that were written by or with the aid of Messrs. White, Hale or any

   other ghostwriter be stricken; and (2) order that Mr. Cantwell is explicitly forbidden from using

   Messrs. White, Hale or any other ghostwriter in any pro se filings going forward.



                                                    3
Case 3:17-cv-00072-NKM-JCH Document 1185 Filed 10/09/21 Page 4 of 8 Pageid#: 20041




   Date: October 9, 2021

                                            Respectfully submitted,



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                                        4
Case 3:17-cv-00072-NKM-JCH Document 1185 Filed 10/09/21 Page 5 of 8 Pageid#: 20042




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Case 3:17-cv-00072-NKM-JCH Document 1185 Filed 10/09/21 Page 6 of 8 Pageid#: 20043




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                                          6
Case 3:17-cv-00072-NKM-JCH Document 1185 Filed 10/09/21 Page 7 of 8 Pageid#: 20044




                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 9, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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Case 3:17-cv-00072-NKM-JCH Document 1185 Filed 10/09/21 Page 8 of 8 Pageid#: 20045




          I hereby certify that on October 9, 2021, I also served the following non-ECF participants
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